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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Thelma Brown                                        Case No.:
14622 Dante Ave.
Dolton, IL 60419

         Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                    UNDER THE FAIR DEBT COLLECTION
v.                                                     PRACTICES ACT AND OTHER
                                                           EQUITABLE RELIEF
Niagara Acquisitions, LLC
5677 South Transit Road
Suite 329                                            JURY DEMAND ENDORSED HEREIN
Lockport, NY 14094

         Defendant.

                                   JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

     Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

     giving rise to this claim occurred in this judicial district.

                                 FACTS COMMON TO ALL COUNTS

2. Sometime prior to June 30, 2010, Plaintiff incurred a debt to MTE Financial in connection

     with a “payday loan”, which is a “debt” as defined by 15 U.S.C. §1692a(5).

3. On June 30, 2010, Plaintiff filed a voluntary petition for a Chapter 7 bankruptcy.

4. Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6).

5. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

6. As described below, Defendant attempted to collect the debt from Plaintiff during the

     pendency of Plaintiff’s bankruptcy case.

7. On or around July 13, 2010, Defendant telephoned Plaintiff in connection with the collection

     of the debt.




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8. During this communication, Plaintiff notified Defendant that Plaintiff had filed a Chapter 7

   bankruptcy with respect to the debt, provided her bankruptcy case number, and her

   bankruptcy attorney’s telephone number.

9. During this communication, Defendant falsely represented that Plaintiff would still owe the

   debt even after she received a discharge in the bankruptcy because Plaintiff had allegedly

   promised that she would not file bankruptcy when she incurred the debt.

10. During this communication, Defendant falsely represented that it would file a lawsuit against

   Plaintiff as soon as her bankruptcy was discharged and asked Plaintiff to make payment

   arrangements to avoid the lawsuit.

11. Despite having knowledge of Plaintiff’s bankruptcy, Defendant telephoned Plaintiff again on

   August 4, 2010.

12. During this communication, Plaintiff reiterated the above referenced information about her

   bankruptcy, and in response Defendant again falsely represented that Plaintiff’s bankruptcy

   did not absolve her of the debt and stated that Plaintiff’s attorneys had lied to her if they told

   her otherwise.

13. During this communication, Defendant falsely represented that Plaintiff had committed

   fraud.

14. Defendant caused Plaintiff emotional distress.

15. Defendant violated the FDCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

16. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




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17. Defendant violated 15 U.S.C. §1692c in that it communicated with Plaintiff notwithstanding

   Plaintiff’s notice that Plaintiff was represented by an attorney.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

18. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

19. Defendant violated 15 U.S.C. §1692e in that it falsely represented the character, amount,

   and/or legal status of the debt.

                                         COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

20. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

21. Defendant violated 15 U.S.C. §1692e in that it threatened action that could not legally be

   taken and/or that was not intended to be taken.

                                          COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

22. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

23. Defendant violated 15 U.S.C. §1692e by making misrepresentations during its

   communications with Plaintiff.

                                           COUNT FIVE

                       Violation of the Fair Debt Collection Practices Act

24. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

25. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

   unconscionable means to collect the debt.




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                                          JURY DEMAND

26. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

27. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.

                                                By: s/Timothy J. Sostrin
                                                   Timothy J. Sostrin
                                                   Bar ID # 6290807
                                                   233 S. Wacker, Suite 5150
                                                   Chicago, IL 60606
                                                   Telephone: 866-339-1156
                                                   Email: tjs@legalhelpers.com
                                                   Attorneys for Plaintiff




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